           FIFTH DISTRICT COURT OF APPEAL
                  STATE OF FLORIDA
                   _____________________________

                       Case No. 5D2023-2440
                     LT Case No. 2019-CA-2972
                   _____________________________

WILLIAM HUETHER, III, M.D.,
and ADVENTIST HEALTH
SYSTEM/SUNBELT, INC. d/b/a
Adventhealth Altamonte
Springs f/k/a Florida Hospital
Altamonte,

    Petitioners,

    v.

VALERIA BARONI,

    Respondent.
                   _____________________________


Petition for Certiorari Review of Order
from the Circuit Court for Seminole County.
Susan Stacy, Judge.

Dinah S. Stein, of Hicks, Porter, Ebenfeld &amp; Stein, P.A., Miami,
and Craig S. Foels, of Estes, Ingram, Foels &amp; Gibbs, P.A.,
Maitland, for Petitioners.

Landis V. Curry, III, of Paul Knopf Bigger, Tampa, for
Respondent.

                         August 20, 2024


SOUD, J.
     Petitioners, William D. Huether, III, M.D., and Florida
Hospital Altamonte seek certiorari relief from this Court, asking
us to quash the trial court’s order permitting the post-verdict
interview of a juror. We deny the petition.

                                  I.

     Respondent Valeria Baroni sued Huether and Florida
Hospital alleging she suffered damages that resulted from medical
malpractice. After more than three years of litigation, a five-day
jury trial was held wherein Huether and Florida Hospital
prevailed. Five days after the defense verdict, Baroni filed a motion
seeking a new trial because of alleged concealment of information
by a juror during voir dire and his further misconduct during trial.

    Specifically, during jury selection, the juror at issue, J.L., was
asked by the trial court, “have you been involved in a lawsuit
before?” 1 J.L. responded, “Never.” This answer is devoid of
equivocation or uncertainty. It is clear and unambiguous—just as
was the trial court’s question to him.

     Baroni alleged in her motion for new trial that J.L. was
involved in no fewer than five prior litigations. Two of the prior
cases were civil cases in which J.L. was the named defendant. One
of these cases was filed in 2017 but was voluntarily dismissed
without prejudice because J.L. filed for bankruptcy. His
bankruptcy case was litigated for years until November 2022—just
two months before jury selection in the case sub judice. J.L. also
was the defendant in two criminal cases filed against him—one



    1 J.L. was prospective juror number 20 (out of 40) during voir

dire. As a result, he heard the same question presented to each of
the nineteen jurors before him. The trial court’s phrasing of the
question varied slightly when posed to each juror individually. For
example, the trial court would phrase the question as: “have you
ever been sued or have you ever sued anyone?”; “have you been
sued or have you sued anyone?”; “have you been sued or did you
sue anyone?”; and the like. Thus, the trial court’s question to J.L.
was straightforward.


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charging domestic battery in April 2021, and the other resulting in
an adjudication of guilt for DUI causing damage/injury in 1998.

     Baroni’s motion for new trial also asserted that J.L. violated
the trial court’s clear and repeated instruction not to communicate
about the case by any means, including social media. The motion
alleged that J.L. posted on Facebook about the case during jury
selection and repeatedly during the trial, including a statement
that he was “acting crazy” during jury selection (and receiving
suggestions on how to get out of jury duty), responding to
comments on his original posts, posting during trial that “a good
trial attorney is like a ninja,” and giving a “thumbs up” to a
commentor’s statement, “not guilty.” Baroni attached screenshots
of J.L.’s Facebook page to her motion.

     Following a hearing on Baroni’s motion, the trial court entered
its Preliminary Order and Findings on Plaintiff’s Motion for New
Trial, whereby it “reserve[d] ruling on [Baroni’s motion for new
trial] until after a juror interview can be held.” This petition
followed.

                                II.

     The discretionary common law writ of certiorari is an
“extraordinary remedy,” providing an appellate court “the
prerogative to reach down and halt a miscarriage of justice where
no other remedy exists.” See Adventist Health Sys./Sunbelt, Inc. v.
Machalek, 383 So. 3d 534, 536–37 (Fla. 5th DCA 2023) (quoting
Univ. of Fla. Bd. of Trs. v. Carmody, 372 So. 3d 246, 251–52 (Fla.
2023)). However, “[t]he writ never was intended to redress mere
legal error,” see id. at 537, and certiorari is not available simply
because an order under review is not otherwise appealable. See
Abbey v. Patrick, 16 So. 3d 1051, 1053–54 (Fla. 1st DCA 2009).

    Here, the petitioners must demonstrate that the challenged
order (1) departs from the essential requirements of law, (2)
resulting in material injury for the remainder of the case (3) that
cannot be corrected on post-judgment appeal. See Dep’t of Child. &amp;
Fams. v. State, 380 So. 3d 1263, 1267 (Fla. 5th DCA 2024). The last
two requirements, combined into the concept of “irreparable
harm,” are jurisdictional and must be found to exist before we



                                 3
consider whether the order            departs   from   the   essential
requirements of law. See id.
                                 A.

    If the order requiring J.L. to be interviewed departs from the
essential requirements of law, irreparable harm would exist.

    Initially, we note that Florida law has long recognized that
post-verdict juror interviews are strongly disfavored and should be
rare. See Child.’s Med. Ctr., P.A. v. Kim, 221 So. 3d 664, 668 (Fla.
4th DCA 2017). “[T]he sanctity of the jury process as well as the
privacy rights of the jurors themselves should be closely guarded
and protected.” Id. (emphasis added) (quoting Sterling v.
Feldbaum, 980 So. 2d 596, 599 (Fla. 4th DCA 2008)). In doing so,
Florida law protects jurors from over-reaching and discontented
counsel that may seek to badger them following a verdict. Id.
    As a result, Florida appellate courts, including this Court,
have repeatedly held that certiorari is a proper vehicle to review
orders requiring a post-verdict juror interview. See e.g.: State v.
Monserrate-Jacobs, 89 So. 3d 294, 296 (Fla. 5th DCA 2012); Orange
County v. Piper, 585 So. 2d 1182 (Fla. 5th DCA 1991); Hannon v.
Shands Teaching Hosp. &amp; Clinics, Inc., 56 So. 3d 879 (Fla. 1st DCA
2011); Pesci v. Maistrellis, 672 So. 2d 583, 585 (Fla. 2d DCA 1996);
Parra v. Cruz, 59 So. 3d 211 (Fla. 3d DCA 2011); Naugle v. Philip
Morris USA, Inc., 133 So. 3d 1235 (Fla. 4th DCA 2014).2

     One lone case from the First District Court of Appeal parts
ways with this precedent. In Laycock v. TMS Logistics, Inc., 209
So. 3d 627, 629 (Fla. 1st DCA 2017), the esteemed majority, in its
reasoned and artful answer to “the more complicated question” of
whether harm “to jurors and the sanctity of their process” invokes
the certiorari jurisdiction of the court, answered in the negative in
dismissing the petition. We respectfully disagree—both with the
question as phrased and the answer thereto.




    2 We are not aware of any case in which the Sixth District

Court of Appeal has addressed this question.


                                 4
     In deciding whether irreparable harm would exist in this case,
we need not limit our jurisdictional analysis to the consideration
of the privacy rights of jurors. And it must be remembered—it is
not “their process” alone. See id. (emphasis added).

     Jurors are “member[s] of the court.” See Clark v. United
States, 289 U.S. 1, 11 (1933).3 Thus, when the trial court orders a
post-verdict juror interview, it implicates not just the privacy
rights of an individual juror, but the very construct and process of
the court itself. An erroneous interview harms not only the
“member of the court” subjected to the interview, it injures the
court. Far from an “ethereal injury,” see Laycock, 209 So. 3d at 630,
the harm is proximate, palpable, and profound. Improperly
subjecting a juror to a post-verdict interview chills (i) a citizen’s
willingness to participate in the sacred privilege and noble duty of
jury service, as well as (ii) a jury’s ability to deliberate and decide
the case on the facts and the law. As a result, this unique harm
strikes at the very core of the court’s work. And all parties before
the court—including the petitioners before us—are inevitably
harmed as well because the proper functioning of the judicial
system ordained and established by the People is materially
impaired. While an appellate court may be able on appeal to
correct a party being wrongly deprived of a favorable verdict or the
denial of a necessary new trial, we cannot repair the multi-
dimensional injuries caused by an erroneous juror interview after
that interview has occurred.

     Therefore, we conclude we have jurisdiction. Florida appellate
courts are not obliged to stand by and helplessly watch as a juror
is wrongly subjected to a post-verdict interview. Rather, when
necessary, certiorari is an appropriate means by which we may
closely protect a juror, the parties, and the jury trial system
Florida citizens so justly rely upon.

                                  B.

     That said, the trial court’s order requiring J.L.’s interview did
not depart from the essential requirements of law.


    3 See infra n.7.




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     In this case, Baroni did not file a motion seeking to interview
J.L. See Fla. R. Civ. P. 1.431(h). Rather, the trial court reserved
ruling on Baroni’s motion for new trial and required J.L. to be
interviewed so that the trial court could fully consider the nature
of any prejudice to Baroni and the merits of her motion. The trial
court was well within its discretion in doing so.

     As an initial matter, had Baroni learned of J.L.’s purported
misconduct during trial and brought it to the trial court’s attention
(as she did following trial), it is entirely likely the same process
employed here would have been followed during trial. J.L. would
have been called to the courtroom individually and outside the
presence of the other jurors to discuss his prior answers during
jury selection and his social media conduct so that the court and
counsel could understand the nature and motives of his actions
and the prejudice to the parties. Following that interview, counsel
could make any motions warranted and the trial judge would rule.
This same procedure employed after the verdict, which the trial
judge determined necessary so that she could properly consider
Baroni’s motion for new trial, does not depart from the essential
requirements of law.

     Further, even though Florida law rightly makes post-verdict
juror interviews rare, where adequate proof suggests that a juror
has acted improperly and contrary to lawful instructions of the
trial court, an interview of the offending juror is appropriate. See
Hillsboro Mgmt., LLC v. Pagono, 112 So. 3d 620, 624 (Fla. 4th DCA
2013). In this case, the interview of J.L. is the product, not of a
request of counsel, but of a court order. It is born, not from a lawyer
or party who may be over-reaching, but from the potential abject
recalcitrance of an offending juror whom Baroni claims engaged in
misconduct in two ways.

     First, Baroni alleged J.L. posted comments to social media in
violation of the trial court’s repeated instructions. While the trial
court determined the social media posts “alone” do not show Baroni
was substantially prejudiced, the trial court reasonably found that
his “thumbs-up” response to a commentor’s posting “not guilty”
was “of particular concern.”

     Additionally, Baroni also argued that J.L. failed to disclose
five prior cases with which he was involved, all of which the trial

                                  6
judge preliminarily found to be relevant in her well-reasoned
order. Two of the cases were prior civil litigations where J.L. was
the defendant. Two cases were criminal cases involving allegations
of conduct by J.L. causing bodily injury to another. When he was
asked individually by the trial judge herself whether he had ever
been involved in prior lawsuits, 4 his response was plain (and
seemingly false): “Never.”

       It is the duty of a juror to make full and truthful
       answers to such questions as are asked him,
       neither falsely stating any fact, nor concealing any
       material matter, since full knowledge of all
       material and relevant matters is essential to the
       fair and just exercise of the right to challenge either
       peremptorily or for cause. A juror who falsely
       misrepresents his interest or situation, or conceals
       a material fact relevant to the controversy, is guilty
       of misconduct, and such misconduct, is prejudicial
       to the party, for it impairs his right to challenge.

De La Rosa v. Zequeira, 659 So. 2d 239, 241 (Fla. 1995) (quoting
Loftin v. Wilson, 67 So. 2d 185, 192 (Fla. 1953)).

     Correspondingly, “[l]awyers representing clients in litigation
are entitled to ask, and receive truthful and complete responses to,
the relevant questions which they pose to prospective jurors. They
are entitled to evaluate this information in determining whether
to seek to excuse prospective jurors on peremptory challenge or for
cause.” Roberts v. Tejada, 814 So. 2d 334, 342 (Fla. 2002) (citing
Loftin, 67 So. 2d at 192).

     Here, the trial judge ordered the interview of J.L. “to evaluate
the issue of [his] concealment” of the prior lawsuits. Rightly so. By
his definitive and unequivocal answer denying any history of being
involved in lawsuits, it appears quite possible that J.L. concealed5



    4 See supra n.1.


    5 “Overall, ‘[i]nformation is considered concealed . . . where the

information is “squarely asked for” and not provided.’” Taylor v.

                                 7
material information from the court and counsel. J.L.’s potential
concealment, independently and when considered together with
his “thumbs up” reply to a commentor’s statement “not guilty,”
may have impacted Baroni’s view of J.L.’s impartiality in this case
and her decision whether to challenge J.L. As a result, this
information establishes a sufficient basis of concern to permit a
post-verdict interview so that the trial court may determine what,
if any, prejudice was suffered by Baroni in ruling on Baroni’s
motion for new trial. 6

                                III.

     Accordingly, as the trial court did not depart from the
essential requirements of law and properly required the post-
verdict interview of the offending juror, the petition is DENIED. In
denying this petition, our opinion is limited to permitting the
interview of the offending juror. 7 We express no opinion as to the
substantive merits of Baroni’s motion for new trial.



Magana, 911 So. 2d 1263, 1268 (Fla. 4th DCA 2005) (quoting Birch
v. Albert, 761 So. 2d 355, 358 (Fla. 3d DCA 2000)).
    6 It is noteworthy that Justice Overton dissented in De La

Rosa, concluding:

        Before a party to a lawsuit should be denied the
        benefit of a favorable verdict and forced to endure
        the time and expense of a new trial based on juror
        misconduct, the trial court should, at a minimum,
        interview the juror, with the attorneys present, and
        then make a finding of whether the conduct was
        intentional and whether any party was prejudiced.

De La Rosa, 659 So. 2d at 242 (Overton, J., dissenting). While we
do not suggest that a jury interview is required before ruling on a
motion for new trial such as this, the reasonableness of the trial
court’s approach is supported by Justice Overton’s view.
    7  If the trial court determines that J.L. willfully and
deliberately engaged in misconduct that was sufficiently
prejudicial to require a new trial, the trial judge would be within

                                 8
    Further, we CERTIFY CONFLICT with Laycock v. TMS
Logistics, Inc., 209 So. 3d 627, 629 (Fla. 1st DCA 2017).

    It is so ordered.



BOATWRIGHT and MACIVER, JJ., concur.




her discretion to take the rare and extraordinary step of
commencing contempt proceedings against him. “Concealment or
misstatement by a juror upon a voir dire examination is
punishable as a contempt if its tendency and design are to obstruct
the processes of justice.” Clark, 289 U.S. at 10.

        A talesman when accepted as a juror becomes a
        part or member of the court. The judge who
        examines on the voir dire is engaged in the process
        of organizing the court. If the answers to the
        questions are willfully evasive or knowingly
        untrue, the talesman, when accepted, is a juror in
        name only. His relation to the court and to the
        parties is tainted in its origin; it is a mere pretense
        and sham.

Id. at 11 (citation omitted); see also DeMartin v. State, 188 So. 3d
87, 92 (Fla. 4th DCA 2016) (quoting Clark, 289 U.S. at 10). When
prospective jurors make misstatements or conceal information
from the court and counsel, such misconduct is (i) corrosive to the
very core of the judicial system and (ii) highly prejudicial to parties
who would be forced to endure the considerable attorney’s fees and
costs involved in retrial—particularly in a medical malpractice
case such as this. Such conduct simply cannot—and will not—be
accepted by the courts of this State.


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          _____________________________

Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
           _____________________________




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